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                     United States Court of Appeals
                                     For the First Circuit
                                        _____________________


      No. 18-2032
                                   UNITED STATES OF AMERICA,

                                                Appellee,

                                                    v.

                                          ROSS MCLELLAN,

                                          Defendant, Appellant.
                                          __________________

                                              JUDGMENT

                                         Entered: May 20, 2020

              This cause came on to be heard on appeal from the United States District Court for the
      District of Massachusetts and was argued by counsel.

            Upon consideration whereof, it is now here ordered, adjudged and decreed as follows:
      Ross McLellan's convictions on all counts are affirmed.


                                                         By the Court:

                                                         Maria R. Hamilton, Clerk


      cc:
      Robert Michael Goldstein
      Martin G. Weinberg
      Kimberly Homan
      Maksim Nemtsev
      Michael Francis Pabian
      Donald Campbell Lockhart
      Stephen Emanuel Frank
      William Johnston
      John Joseph Butts
